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13
                     IN THE UNITED STATES DISTRICT COURT
14                     EASTERN DISTRICT OF WASHINGTON
15
        ISAAC GORDON, an individual,
16      and all those similarly situated,
                                                Case No. 2:19-cv-00390-TOR
17                       Plaintiff,
                                                NOTICE OF VOLUNTARY
18      vs.                                     DISMISSAL OF DEFENDANT
                                                ROBINHOOD MARKETS, INC.
19      ROBINHOOD FINANCIAL, LLC, a
        Delaware limited liability company
20      and subsidiary of ROBINHOOD
        MARKETS, INC., a Delaware
21      corporation,
22                       Defendants.
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     NOTICE OF VOLUNTARY DISMISSAL OF
     DEFENDANT ROBINHOOD MARKETS, INC. - 1
       Case 2:19-cv-00390-TOR         ECF No. 15   filed 01/30/20   PageID.171 Page 2 of 3




1          COMES NOW the Plaintiff, ISAAC GORDON, by and through his
2    attorneys of record, Kirk Miller of Kirk D. Miller, PS, and Brian G. Cameron and
3    Shayne J. Sutherland of Cameron Sutherland, PLLC, and pursuant to FRCP
4    41(a)(1) of the Federal Rules of Civil Procedure, hereby gives notice dismissing all
5    claims against Defendant Robinhood Markets, Inc., without prejudice and without
6    costs or fees to either party.
7          Nothing in this Notice pertains to the Plaintiff’s ongoing action against
8    Defendant Robinhood Financial, LLC.
9

10         DATED this 30th day of January 2020.
11

12                                                   KIRK D. MILLER, PS
13

14                                                   s/ Kirk D. Miller
                                                     Kirk D. Miller, WSBA #40025
15
                                                     Attorney for Plaintiff
16

17                                                   CAMERON SUTHERLAND, PLLC

18

19
                                                     s/ Brian G. Cameron
                                                     Brian G. Cameron, WSBA #44905
20                                                   Shayne Sutherland, WSBA #44593
                                                     Attorneys for Plaintiff
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      NOTICE OF VOLUNTARY DISMISSAL OF
      DEFENDANT ROBINHOOD MARKETS, INC. - 2
       Case 2:19-cv-00390-TOR      ECF No. 15     filed 01/30/20   PageID.172 Page 3 of 3




1                         CM/ECF CERTIFICATE OF SERVICE
2

3            I certify that on the date indicated below I caused an electronic copy of the
4    foregoing document to be filed with the clerk of the court via CM/ECF system which
5    will then send notification of such filing(s) to.
6

7            I affirm under penalty and perjury under the laws of the State of Washington
8    and of the United States, that the foregoing is true and correct.
9

10   KennethPayson@dwt.com                          Attorney for Defendants
11

12   LaurenRainwater@dwt.com                        Attorney for Defendants
13

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15
             Dated this 30th day of January 2020.
16

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18
                                              /s/Teri A. Bracken
19                                            Paralegal

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      NOTICE OF VOLUNTARY DISMISSAL OF
      DEFENDANT ROBINHOOD MARKETS, INC. - 3
